Case 1:06-cr-00031-DHB-BKE Document 200 Filed 09/11/09 Page 1 of 1



                    IN THE UNITED STATES DISTRICT COURT

                   FOR THE SOUTHERN DISTRICT OF GEORGIA                        SEP I I All 9: 43


                                AUGUSTA DIVISION

TIMOTHY L. WORTHEN,

              Petitioner,

       V.                                      CV 108-166
                                               (Formerly CR 106-031)
UNITED STATES OF AMERICA,

              Respondent.



                                      ORDER


       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

the Report and Recommendation of the Magistrate Judge is ADOPTED as the opinion of

the Court. Therefore, Petitioner's § 2255 motion is DENIED, this civil action is CLOSED,

and a final judgment shall be ENTERED in favor of the United States of America.

       SO ORDERED this              of September, 009, at Augusta, Georgia.

                                             4 ,


                                              STATFA DISTRICT JUDGE
